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                  UNITED STATES DISTRICT COURT
                 CENTRAL DISTRICT OF CALIFORNIA




    RLI INSURANCE COMPANY,              CV 22-3173 DSF (JEMx)
    etc., et al.,
           Plaintiffs,                  ORDER CONDITIONALLY
                                        GRANTING MOTION TO
                    v.                  WITHDRAW AS COUNSEL OF
                                        RECORD (DKT. 35)
    HARVEST KING TRADING
    USA, LIMITED, etc., et al.,
         Defendants.



        The motion to withdraw as counsel was filed on January 20,
   2023. Plaintiff filed an opposition. The Court has not received
   any pleadings or communications from Defendants.

        Good cause has been shown. Therefore, the Court grants the
   motion effective on the date that moving counsel files and serves B
   on the clients and all attorneys of record B a declaration (in the
   form specified in 28 U.S.C. ' 1746) that:

       (1) Sets forth the clients’ current addresses and telephone
   numbers recently verified as accurate by the withdrawing counsel;

        (2) Informs the clients and all attorneys of record that the
   stated addresses will be the address to which all future documents
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   will be served or sent until changed by appropriate notice or
   substitution of attorney;

         (3) Informs the clients of all future dates now set in this
   action, including, but not limited to, pre-trial conference related
   dates, discovery cut-off dates, the motion cut-off date, and dates
   relating to any pending discovery obligations;

         (4) Informs any individual client that any individual
   appearing pro se will be required to comply with this Court’s
   standing orders, this District=s Local Rules, the Federal Rules of
   Civil Procedure and all other Federal Rules;

        (5) Informs any client organization (corporation,
   unincorporated association, partnership, trust, etc.) that it cannot
   appear without counsel, and of the consequences of its failure
   timely to obtain counsel. See Local Rule 83-2.2.2;

        (6) Informs the clients when and where the clients may
   obtain the clients’ case file, if it is not already in the clients’
   possession;

         (7) Informs the clients of the following:

         Although the individual clients are proceeding pro se, i.e.,
   without legal representation, they nonetheless are required to
   comply with Court orders, the Local Rules, and the Federal Rules
   of Civil Procedure. See C.D. Cal. L.R. 83-2.2.3. The Local Rules
   are available on the Court’s website,
   http://www.cacd.uscourts.gov/court-procedures/ local-rules.
         The Court cannot provide legal advice to any party,
   including pro se litigants, i.e., parties who are not represented by a
   lawyer. There is a free “Pro Se Clinic” that can provide
   information and guidance about many aspects of civil litigation in
   this Court.



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          Parties in court without a lawyer are called “pro se
   litigants.” These parties often face special challenges in federal
   court. Public Counsel runs a free Federal Pro Se Clinic where pro
   se litigants can get information and guidance. The Clinic is
   located at the Roybal Federal Building and Courthouse, 255 East
   Temple Street, Los Angeles, CA 90012 (note that the clinic may
   not be open for in-person appointments during the pandemic). Pro
   se litigants must call or submit an on-line application to request
   services as follows: on-line applications can be submitted at
   http://prose.cacd.uscourts.gov/los-angeles, or call (213) 385-2977,
   ext. 270.

         Individual pro se litigants may submit documents for filing
   through the Court’s Electronic Document Submission System
   (EDSS) instead of mailing or bringing documents to the Clerk’s
   Office. Only internet access and an e-mail address are
   required. Documents are submitted in PDF format through an
   online portal on the Court’s website. To access EDSS and for
   additional information, visit the Court’s website at
   https://apps.cacd.uscourts.gov/edss.

         Attorneys may not use EDSS to submit documents on behalf
   of their clients. Attorneys are required by the local rules to file
   documents electronically using the Court’s CM/ECF System.

         (8) Informs any client corporation, unincorporated
   association, partnership, or trust that failure of the client to
   appear through counsel no later than April 3, 2023 will result in
   the striking of the entity’s answer and entry of its default.

        Counsel must also provide a proof of service of this Order
   and the required declaration.

        Failure to comply with the above requirements by March 8,
   2023 will result in the denial of the motion.




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         Effective on the date counsel complies with this Order, the
   individual clients will represent themselves, and the docket will
   be amended to reflect the address for the clients as described in
   counsel’s declaration.



      IT IS SO ORDERED.



    Date: March 1, 2023                   ___________________________
                                          Dale S. Fischer
                                          United States District Judge




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